
644 S.E.2d 367 (2007)
STATE of North Carolina
v.
Derrick Lynn HENDRICKS.
No. 87P07.
Supreme Court of North Carolina.
March 8, 2007.
Derrick Lynn Hendricks, Pro Se.
Daniel S. Johnson, Special Deputy Attorney General, R. Stuart Albright, District Attorney, for State of NC.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 7th day of February 2007 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Attorney General, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 8th day of March 2007."
Upon consideration of the petition filed on the 7th day of February 2007 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:

*368 "Denied by order of the Court in conference, this the 8th day of March 2007."
